 Case: 1:21-cv-02600 Document #: 17 Filed: 05/18/21 Page 1 of 1 PageID #:1370

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

LG Electronics Inc., et al.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:21−cv−02600
                                                                    Honorable Mary M.
                                                                    Rowland
Partnerships and unincorporated Associations
Identified in Schedule A
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 18, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: Plaintiffs' motion for
leave to file under seal [4] and Plaintiffs' motion to exceed page limitation [5] are granted.
Mailed notice. (dm, )




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